         Case 2:15-cv-09055-FMO-JC Document 53 Filed 08/21/19 Page 1 of 8 Page ID #:340




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  4 Assistant United States Attorney
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                              UI~]ITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
                                     WESTERN DIVISION
13
    UNITED STATES OF AMERICA ex                No. CV 15-09055 FMO(JCx)
14 rel.[L7NDER SEAL],
                                               THE GOVERNMENTS'NOTICE OF
15              Plaintiff[s],                  ELECTION RE INTERVENTION AND
                                               STIPULATION RE UNSEALING OF
16                     v.                      CASE
17 [UNDER SEAL],                                [FILED UNDER SEAL PURSUANT TO
                                                THE FALSE CLAIMS ACT,31 U.S.C.
18                  Defendant[s].               §§ 3730(b)(2) AND (3)]
19                                              [LODGED CONCURRENTLY UNDER
                                                SEAL: ~PROPOSEDIORDERI
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 4 Assistant United States Attorney                               ~=~                 `'''
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 5 FRANK D. KORTUM                                                                    ~
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                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                    WESTERN DIVISION
13
   UNITED STATES OF AMERICA ex                 No. CV 15-09055 FMO(JCx)
14 rel.[UNDER SEAL],
                                               THE GOVERNMENTS'NOTICE OF
15             Plaintiffjs],                   ELECTION RE INTERVENTION AND
                                               STIPULATION RE UNSEALING OF
16                    v.                       CASE
17 [UNDER SEAL],                                 [FILED UNDER SEAL PURSUANT TO
                                                 THE FALSE CLAIMS ACT,31 U.S.C.
18               Defendant[s].                   §§ 3730(b)(2) AND (3)]
19                                               [LODGED CONCURRENTLY UNDER
                                                 SEAL: fPROPOSEDIORDERI
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                            UNITED STATES DISTRICT COURT
11
                     FOR THE CENTRAL DISTRICT OF CALIFORI~IIA
12
                                    WESTERN DIVISION
13
   UNITED STATES OF AMERICA and               No. CV 15-09055 FMO (JCx)
14 STATE OF CALIFORNIA ex rel.
   RUBIE ALLAN,                               THE GOVERNMENTS'NOTICE OF
15                                            ELECTION RE INTERVENTION AND
               Plaintiffs,                    STIPULATION RE UNSEALING OF
16                                            CASE
17                                           rFILED UNDER SEAL PURSUANT TO
      CALIFORNIA DRUG                        THE FALSE CLAIMS ACT,31 U.S.C.
18    COMPOUNDING LLC; MICHAEL               §§ 3730(b)(2) AND (3)]
      HEALD;IRMA DIAZ; JORGE
19    GONZALES-BETANCOURT; and               [LODGED CONCURRENTLY UNDER
      DOES 1 through 10,                     SEAL: [PROPOSED]ORDER]
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     Case 2:15-cv-09055-FMO-JC Document 53 Filed 08/21/19 Page 4 of 8 Page ID #:343




 1           Pursuant to the federal False Claims Act, 31 U.S.C. § 3730(b)(4)(A), the United
 2    States of America ("United States") notifies the Court of its election to intervene in this
 3    action for settlement purposes against defendant Michael Heald ("Heald"). The United
 4    States expects to finalize the settlement with Heald within the next 30 days, and
 5    promptly after the United States receives the agreed-upon initial settlement payment, to
 6 file jointly, with the qui tam plaintiff, Rubie Allan ("relator"), a stipulated request for
 7    dismissal of this action as to Heald.
 8          Pursuant to the California Insurance Frauds Prevention Act, Cal. Ins. Code §
 9    1871.7(e)(4)(B), the State of California ("California") notifies the Court of its election to
10    decline to intervene in this action with respect to Heald.
11          Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(4)(B), and the California
12 Insurance Frauds Prevention Act, Cal. Ins. Code § 1871.7(e)(4)(B), the United States and
13    California (collectively "Governments") further notify the Court of their election to
14    decline to intervene in this action with respect to the remaining three defendants: Irma
15    Diaz, Jorge Gonzales-Betancourt, and California Drug Compounding LLC. The
16    stipulated request for dismissal identified above will include the relator's request to
17    voluntarily dismiss the action as to these three defendants, and also the Governments'
18    consent to such dismissal.
19          The Governments have completed their investigation and made their election;
20    thus, there is no further need for the seal. See 31 U.S.C. § 3730(b)(3)&(4). The
21    Governments and the relator therefore stipulate that the case should be unsealed, with
22    certain exceptions, as follows: The relator's Complaint, this Notice, and the Court's
23    Order thereon should be unsealed. All other documents previously filed or lodged with
24    the Court in this action should remain permanently under seal because such papers were
25    provided by law to the Court alone for the sole purpose of discussing the content and
26    extent ofthe Governments' investigation, and, thereby, evaluating whether the seal and
27    time for making an election should be extended. All papers hereafter filed or lodged in
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 Case 2:15-cv-09055-FMO-JC Document 53 Filed 08/21/19 Page 5 of 8 Page ID #:344




 1   this action should nat be sealed.
           A proposed Order accompanies this notice and stipulation..
3                                        Respectfully submitted,
4     Dated: August ~~, 2019
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7                                        Attorney for Relator
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 1   Dated: Augusts2~, 2019       CALIFORNIA DEPARTMENT OF INSURANCE
                                  FRAUD LIASON BUREAU
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                                  1Gl           GIEISTTE~
 4
                                  Attorneys for the State of California
 5
 6
 7   Dated: August , 2019         LOS ANGELES COUNTY DISTRICT
                                  ATTORNEY'S OFFICE

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ld                                Head Deput~ y,
                                  Healthcare Insurance Fraud Division
11
                                  Attorneys for the State of California
12
13
     Dated: August'?-i, 2019      NIC~LA T. HANNA
14                                United States Attorney
                                  DAVID M. HARRIS
15                                Assistant United States Attorney
                                  Chief, Civil Division
16                                DAVID K. BA.RRETT
                                  Assistant United States Attorney
17                                Chief, Civil Fraud Section
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                                  Assistant United States Attorney
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21                                Attorneys for the
                                  United States of America
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 Case 2:15-cv-09055-FMO-JC Document 53 Filed 08/21/19 Page 7 of 8 Page ID #:346




 1   Dated: August , 2019         CALIFORNIA DEPARTMENT OF INSURANCE
                                  FRAUD LIASON BUREAU
 2
 3
 4
                                  Attorneys for the State of California
 5
 6
 7   Dated: August ~ I, 2019      LOS ANGELES COUNTY DISTRICT
                                  ATTORNEY'S OFFICE
 8
 9
10                                Head eputy,
                                  Healthcare Insurance Fraud Division
11
                                  Attorneys for the State of California
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13
     Dated: August o~~ 2019       NICOLA T. HANNA
14                                United States Attorney
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                                  United States of America
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 1                                PROOF OF SERVICE BY MAIL
 2
             I am over the age of 18 and not a party to the above-captioned action. I am
 3
       employed by the Office of United States Attorney, Central District of California. My
 4
       business address is 300 North Los Angeles Street, Suite 7516, Los Angeles, California
 5
      90012.
 6
             On Auguste ,2019, I served THE GOVERNMENTS'NOTICE OF
 7
      ELECTION RE INTERVENTION AND STIPULATION RE UNSEALING OF CASE
 8
      on each person or entity named below by enclosing a copy thereof in an envelope
 9
      addressed as shown below and placing the envelope for collection and mailing on the
10
      date and at the place shown below following our ordinary office practices. I am readily
11
      familiar with the practice of this office for collection and processing correspondence for
12
      mailing. On the same day that correspondence is placed for collection and mailing, it is
13
      deposited in the ordinary course of business with the United States Postal Service in a
14
      sealed envelope with postage fully prepaid.
15
            Date of mailing:. August off-{,2019. Place of mailing: Los Angeles, California.
16
            Persons) and/or Entity(s) to whom mailed:
17                                                   GREG ASLAI~IIAN
            MITCHELL S. NEUMEISTER
18          California Dept. ofInsurance             The Aslanian Law Firm,PC
            300 Capitol Mall, F1. 16                 275 E. California Blvd
19          Sacramento, CA 95814                     Pasadena, CA 91106

20          JENNIFER L. SNYDER
            Deputy District Attorney
21          211 W.Temple St., F1. 10
            Los Angeles, CA 90012
22
23          I declare that I am employed in the office of a member ofthe bar of this Court at

24    whose direction the service was made.

25          I declare under penalty of perjury that the foregoing is true and correct.

26          Executed on August~2019, at o                    s, California.

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